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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
NEW JERSEY SECOND
AMENDMENT SOCIETY, et al. Civil Action
Plaintiffs, 3:20-cv-05228-MAS-ZNQ
V. CONSENT ORDER

PHILIP MURPHY, Governor of the
State of New Jersey, et al.

Defendants.

 

 

THIS MATTER having been brought before the Court for entry of a
Consent Order, by Gurbir S. Grewal, Attorney General of New Jersey, with
Deborah A. Hay, Deputy Attorney General, appearing for State Defendants;
and with the consent of Albert J. Rescinio, Esq., attorney for the Plaintiffs;
and upon good cause shown;

IT IS ORDERED on this day of , 2020:
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1) Plaintiffs’ Motion for Preliminary Injunctive Relief is hereby
WITHDRAWN WITHOUT PREJUDICE, specifically NJ2AS
reserves the right to reopen its motion for preliminary injunctive relief,
if necessary;

2) On June 19, 2020, State Defendants agree to:

a. Include Plaintiffs in the email distribution from the Governor’s
Office at an email address of Plaintiffs’ choosing and provide
them with the same ability to manage email subscription
preferences as all other recipients on the email distribution list
and this access will continue as long as the distribution list is
active.

b. Provide Plaintiff Roubian with a State House Press Pass, which
grants him the same access to the Governor’s daily press
briefings that is currently available to a member of the press who
possesses a State House Press Pass and this access will continue
until Plaintiff Roubian is advised by the Governor’s Office that
he and all current State House Press Pass holders must reapply
for a State House Press Pass.

3) State Defendants’ time to move, answer or otherwise reply to the
Plaintiffs’ Complaint is hereby extended sixty (60) days to August 28,

2020.
SO ORDERED.

 

Hon. Michael A. Shipp, U.S.D-J.

The undersigned counsel hereby consent to the terms of the foregoing
order:

Ny OF, ALBERT J. RESCINIO, L.L.C.

By: / LA, en 4 DATED: b i: {7 /; 20
Alvert J. Rescjhio, Esq.
Attorney for Daina
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GURBIR S. GREWAL
ATTORNEY GENERAL OF NEW JERSEY

/ DATED: G (9 [ae

  

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Deborah A. May “4 C/
Deputy Attorney General
Attorney for State Defendants
